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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 MARK HANSEN, and JASON BUFFER
 individually and on behalf of all others
 similarly situated,                                 Case No. 1:20-cv-02142

                 Plaintiffs,                         Hon. Thomas M. Durkin

          v.                                         Magistrate Judge Jeffrey T. Gilbert

 UNITED AIRLINES, INC.,

                 Defendant.


               EIGHTH JOINT REPORT ON THE STATUS OF DISCOVERY

         Pursuant to the Court’s July 11, 2022 Order, ECF 130, Plaintiffs Mark Hansen and Jason

Buffer (“Plaintiffs”) and Defendant United Airlines, Inc. (“Defendant” or “United”) submit this

eighth joint report on the status of discovery.

I.       Production of ESI and Other Documents

         Since the last joint status report, United made its production of the revised omnibus dataset

referenced in the parties’ Joint Motion to Modify Case Management Schedule, ECF 127, on

August 4, 2022. United is continuing to collect and review additional documents responsive to

Plaintiffs’ Requests and expects to make an additional production on or before August 16, 2022.

Among other things, United expects that production may consist of additional raw data, emails,

attachments, and other ESI.

II.      Progress on Depositions

         The parties completed the depositions of both Plaintiffs Buffer and Hansen, on June 10,

2022, and June 17, 2022, respectively. With respect to United’s depositions, on April 27, 2022,

Plaintiffs served United with a Notice of 30(b)(6) Deposition Notice. United served objections to
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the Notice on Plaintiffs’ counsel on May 16, 2022. The parties subsequently met and conferred

regarding those objections on June 27, 2022. Since then, the parties have resolved the majority of

those objections and expect to resolve the remaining objection, concerning a single deposition

topic, before the next status hearing. Because the parties expect United’s depositions to involve

questioning regarding the recently revised omnibus dataset production, the parties are still working

together to schedule specific dates.

III.   Proposed Date for Next Joint Report on the Status of Discovery

       This case is set for a status hearing on August 11, 2022. The parties propose that the next

status hearing be set for September 12, 2022, with the parties’ ninth joint report on the status of

discovery to be submitted to the Court on September 8, 2022.



Dated: August 9, 2022                             Respectfully submitted,

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